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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
Alexandria Division

KIRA FRANKLYN,
Plaintiff,
1:23-cv-1296 (LMB/LRV)

Vv.

LIFE ASSET INC, et al.,

Nee Ne” Nee ae Nee ee” Nee ee ee”

Defendants.
ORDER

For the reasons stated in open court, defendant Life Asset Inc.’s Motion to Dismiss [Dkt.
No. 8] is GRANTED, and it is hereby

ORDERED that defendant Life Asset Inc. be and is DISMISSED from this civil action.

During open court, pro se plaintiff Kira Franklyn (“plaintiff”) was advised that she has 30
days to appeal this decision; however, because Experian Information Solutions Inc. remains a
defendant in this civil action, plaintiff may only appeal this decision within 30 days from when
the Court fully resolves all issues in this action and enters final judgment. A notice of appeal is a
short statement indicating a desire to appeal, including the date of the order plaintiff wants to
appeal. Plaintiff need not explain the grounds for appeal until so directed by the court of
appeals. Failure to file a timely notice of appeal waives plaintiff's right to appeal this decision.

The Clerk is directed to forward copies of this Order to counsel of record and plaintiff
Kira Franklyn, pro se.

we
Entered this 20 day of November, 2023.

Alexandria, Virginia
Isf Des

Leonie M. Brinkerna
United States District Judge

